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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION


UNITED STATES OF AMERICA


     V.                                         CR 499-001


TERRELL GAULDEN




                                 ORDER




     In the captioned criminal matter, Defendant Terrell Gaulden

recently filed a pro se motion to reduce his sentence pursuant to

18 U.S.C. § 3582(c) based upon the First Step Act of 2018, Publ.

L. No. 115-391, 132 Stat. 5194.     The Government opposes the motion.

The Court resolves the matter as follows.


     Terrell Gaulden and his twin brother and co-defendant Derrell


Gaulden were convicted by a federal jury in 1999 on multiple counts

of distribution of cocaine base (^^crack cocaine"); one count of

possession with intent to distribute cocaine hydrochloride; one

count of carrying a firearm during and in relation to a drug

trafficking crime; and one count of drive-by shooting.              Terrell

Gaulden was also convicted of two counts of possession of a firearm

by a convicted felon.

     The Gaulden brothers distributed substantial quantities of

cocaine,   particularly   crack    cocaine,     in   the   rural   area    of

Hinesville, Georgia in this district in the mid-1990s.             The drug

operation also involved guns and violence.              The brothers hired

their   co-defendant,   Joseph    Jones,   to    kill   Raymond    Dent,   an
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individual who reportedly stole cocaine from them.                 Jones shot at

the mobile home Dent and others occupied at least five times.

Luckily, no one was injured.         Of note, a few weeks after this

incident. Dent shot into Terrell Gaulden's home and struck him in

the leg.

      Agents investigating the drug operation used four different

confidential informants, on several occasions, to purchase varying

amounts of cocaine from the Gaulden brothers, either at their homes

or their business location.        The largest quantity purchased from

Terrell Gaulden at one time, on December 3, 1998, was 30.2 grams

of crack cocaine, which underlies Count 10 of the Superseding

Indictment.     The investigation culminated in the execution of

search warrants at the brothers' homes, their business site, and

a mobile home across the street from their business, wherein the

evidence   recovered   indicated    that   the    mobile    home    was   used   to

convert powder cocaine to crack cocaine.                The mobile home was

located next to a day care and a baseball field.            Behind the mobile

home,   authorities found an abandoned car with               marihuana,       drug

paraphernalia, and four firearms in the unlocked trunk.                   Another

abandoned vehicle also contained marihuana and drug paraphernalia.

Further,   authorities    found    firearms      in   the   bedrooms      of   each

brother's respective homes.

      With respect to Terrell Gaulden, five of the seven counts of

conviction for distribution of crack cocaine (Counts 3, 4, 6, 8 &

10)   carried a mandatory minimum sentence of five                  years and a
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statutory    maximum   sentence     of    forty       years   imprisonment.     At

sentencing on July 21, 1999, Terrell Gaulden's guideline range was

determined to be 292 to 365 months imprisonment.                The Honorable B.

Avant Edenfield sentenced Terrell Gaulden to 365 months^ plus a

consecutive term of 60 months for the 18 U.S.C. § 924(c) firearm

conviction, for a total term             of 425 months.          Terrell Gaulden

remains in federal custody to date.

     On three prior occasions, Terrell Gaulden has sought sentence

reductions based upon a modification of his guideline range.                    In

the exercise of discretion and in consideration of the factors set


forth in 18 U.S.C. § 3553(a), this Court has thrice denied Terrell

Gaulden's motions.      Each time, the Court pointed to the magnitude

of the drug operation and the attendant violence and recklessness

of the Defendant as grounds for denying a reduction in sentence.

(See Order of Sept. 9, 2008 ("The defendant's motion is denied

based on the substantial quantity of crack cocaine involved in

this case as well as the danger the defendant presents to the

community    as   evidenced    by the        repeated    acts of   violence     and

threatened violence committed by the defendant and his brother."

(Edenfield,    J.));   Order   of   Mar.      6,   2012   ("Defendant     and   his

brother's     distribution     operation        was     violent,   most   notably

demonstrated by their commissioning of a drive-by shooting over a

drug debt.     Numerous loaded firearms, two of which having high-

capacity magazines, were discovered in close proximity to their

stash of drugs and at their homes. . . . In addition, much of their
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cocaine was stored and         ^cooked' in a mobile home adjacent to a

site that operated as a children's day care facility." (Edenfield,

J.); Order of Sept. 8, 2015 ("The activities of the coconspirators

included multi-kilogram quantities of cocaine, the establishment

of stash houses, crack 'cooking' operations, and firearms caches

adjacent to a daycare center and children's baseball diamond, and

was    characterized    by serious      acts of       violence    and   threatened

violence, including drive-by shootings." (Bowen, J.).)

       At present, Terrell Gaulden contends that the First Step Act

entitles him to relief.         Section 404 of the First Step Act is the

only provision that applies retroactively to defendants who have

already been sentenced.          Section 404 allows for a reduction of

sentence based on the revised statutory penalties of the Fair

Sentencing Act of 2010, if such reduction was not previously

granted.     In other words. Section 404 of the First Step Act allows

a court to reduce a previously imposed sentence "as if sections 2

and 3 of the Fair Sentencing Act of 2010 . . . were in effect at

the time the covered offense was committed."                    Section 2 of the

Fair    Sentencing     Act    increased       the    drug    amounts    triggering

statutory     mandatory      minimums   for     crack    trafficking     offenses.

Section 3 of the Fair Sentencing Act, which has no application

here,    eliminated    the   five-year       mandatory      minimum   sentence   for

simple possession of crack cocaine.

       The First Step Act did not affect the sentencing guideline

range applicable to Terrell Gaulden.                In fact, Terrell Gaulden's
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amended     guideline    range   remains      unchanged      from    what     it   was

determined to be after implementation of Amendment 782 to the

United States Sentencing Guidelines in 2015 - 151 to 188 months,

plus    a     sixty-month    consecutive      sentence    for       the   §   924(c)

conviction.      To the extent the Court has been asked to reconsider

its sentence upon passage of the First Step Act to one within this

guideline range, such motion is denied.              The Court has carefully

considered each of the sentencing factors in 18 U.S.C. § 3553(a),

particularly the nature and circumstances of the offenses, the

need for the sentence imposed to reflect the seriousness of the

offenses and to provide just punishment for such; and the need for

the sentence to protect the public from further crimes of this

Defendant.      In short, the facts and circumstances as it relates to

these factors have not changed over time (and over three prior

denials from two other district judges) to warrant a different

outcome.       The Court hereby exercises its discretion to deny any

sentence modification for this Defendant.^

       That    said,   the   Court   must    now   address    Terrell     Gaulden's

primary argument.       Through his § 3582(c) motion, he contends that

Section 2 of the Fair Sentencing Act is applicable to him, reducing

his statutory minimum and maximum sentences of five to forty years

to a maximum of twenty years.               To explain, at the time Terrell




^ Importantly, Section 404(c) of the First Step Act provides that
"[n]othing in this section shall be construed to require a court
to reduce any sentence pursuant to this section."
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Gaulden was sentenced, a violation of 21 U.S.C. § 841(a)(1) carried

statutory minimum and maximum sentences of five to forty years for

offenses involving more than 5 grams of cocaine base.           21 U.S.C.

§ 841(b)(1)(B) (1999).      The Fair Sentencing Act of 2010 reduced

the statutory penalties for offenses involving cocaine base by

increasing    the   threshold   drug   quantities required   to   trigger

mandatory minimum sentences.       Currently, in order to trigger the

five to forty year sentencing range, a distribution offense must

involve 28 grams or more of crack cocaine. 21 U.S.C. § 841(b)(1)(B)

(2019).   Distribution of a lower quantity (5 grams or more of crack

cocaine) is a violation of 21 U.S.C. § 841(b)(1)(C), which has a

statutory maximum of twenty years.        Thus, Terrell Gaulden argues

that application of the Fair Sentencing Act of 2010 through the

First Step Act changes his statutory maximum to 20 years.

     Terrell Gaulden is partially correct.       In fact, if sentenced

today, six of his seven convictions for distribution of crack

cocaine would carry a statutory maximum of 20 years.         However, as

reported in the Presentence Investigation Report through evidence

adduced at trial. Count 10 involved a purchase of 30.2 grams of

crack cocaine on December 3, 1998.       (See Presentence Investigation

Report,   H   19.)      This    amount   of   crack   cocaine     triggers

§ 841(b)(1)(B) such that the statutory penalty remains five to

forty years as to Count 10.     Thus, Terrell Gaulden remains eligible

for a sentence up to forty years imprisonment.
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     Terrell Gaulden argues in his reply brief that the Court

cannot use the 30.2 grams of crack cocaine attributable to him by

the Presentence Investigation Report to determine his offense of

conviction. He essentially argues that drug quantity is an element

of the offense and therefore, citing Apprendi v. New Jersey, 530

U.S. 466 (2000) and Alleyne v. United States, 570 U.S. 99 (2013),

the drug quantity must be charged in the indictment and determined

by a jury.^

     The Eleventh Circuit has not ruled on the applicability of

Apprendi and Alleyne to sentence modifications undertaken under 18

U.S.C. § 3582(c)(1)(B).            It has squarely held, however, that a

defendant     who    is   entitled    to       a   sentence   reduction   under   §

3582(c)(2) is not entitled to be resentenced in accordance with

Apprendi.     See United States v. Cherry, 326 F. App'x 523, 527 (11*^^

Cir. 2009) ("A § 3582(c)(2) motion to reduce a sentence does not

provide the basis for de novo resentencing.                     A district court

should   leave      intact   its   previous        factual    decisions   from   the

sentencing hearing when deciding whether to reduce a defendant's

sentence.").     Moreover, the Eleventh Circuit has held that district

courts lack jurisdiction to consider a constitutional challenge to



2 In Apprendi, the United States Supreme Court held that ''any fact
that increases the penalty for a crime beyond the prescribed
statutory maxiumum must be submitted to a jury, and proved beyond
a reasonable doubt."   530 U.S. at 490.   In Alleyne, the Supreme
Court held that the requirements of Apprendi apply to facts that
increase a defendant's mandatory minimum sentence.    570 U.S. at
103.     Of  note, Apprendi and Alleyne     have   not been made
retroactively applicable to cases on collateral review.
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a sentence in a § 3582(c) proceeding.         United States v. Bravo, 203

F.3d 778, 782 {11^^ Cir. 2000); United States v. Cole, 417 F. App'x

922,    923          Cir.   2011)   ("[C]onstitutional     challenges       are

'extraneous' sentencing issues, and if [the defendant] wishes to

challenge the constitutionality of his sentence, the proper method

is in collateral attack under 28 U.S.C. § 2255." (quoting Bravo,

203 F.3d at 781-82)).       Accordingly, at this point the Court must

conclude that Terrell Gaulden is not entitled to the application

of the rule in Apprendi or Alleyne and, in accordance with its

unobjected-to finding in the Presentence Investigation Report that

Terrell Gaulden distributed 30.2 grams of crack cocaine on December

3, 1998, the statutory minimum and maximum sentences of five to

forty years remains as to Count 10.^           Because Terrell Gaulden's



3 The Court recognizes that there is a split in the district courts
on the issue of whether a defendant may challenge the quantity
findings of a Presentence Investigation Report under Apprendi and
Alleyne in the First Step Act context. The following courts have
refused to apply the principles of Apprendi and Alleyne to First
Step Act reduction cases: United States v. Blocker, 378 F. Supp.
3d 1125, 1126 (N.D, Fla. 2019); United States v. Glover, 377 F.
Supp. 3d 1346 (S.D. Fla. 2019); and United States v. Banuelos,
2019 WL 2191788 (D. N. Mex. May 21, 2019).      Contrarily, the
following cases have applied Alleyne and Apprendi to First Step
Act cases: United States v. Simons, 375 F. Supp. 3d 379 (E.D.N.Y.
2019); United States v. Stanback, 377 F. Supp. 3d 618 (W.D. Va.
2019); United States v. Allen,    F. Supp. 3d   , 2019 WL 1877072
(D. Conn. Apr. 26, 2019); and United States v. Davis, 2019 WL
1054554 (W.D.N.Y. Mar. 6, 2019). The Court finds persuasive the
observation of the district court in Blocker, which noted that all
pre-2010   indictments  simply   tracked   the   language  of   §
841(b)(1)(B), charging distribution of only 5 grams or more of
crack cocaine because that was all that was necessary to trigger
the statute.   The Blocker court reasoned that if the quantity
findings in Presentence Investigation Reports were disregarded in
favor of the language in the pre-2010 indictments, "every crack
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sentence falls below the statutory maximum of forty years, relief

under the First Step Act is not warranted.

     Upon the foregoing, Defendant Terrell Gaulden's motion for

reduction of sentence (doc. 431) is hereby DENIED.         Moreover, his

motion for the appointment of counsel (doc. 438) is DENIED AS MOOT.

     ORDER ENTERED at Augusta, Georgia, this / ^^*d\y of July,
2019.




                                       J.                ^HIEF JUDGE
                                       UNITED^ATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF GEORGIA




defendant sentenced before the Fair Sentencing Act took effect
would be eligible for a reduction," creating an enormous disparity
between earlier-indicted crack defendants and later-indicted crack
defendants. 378 F. Supp. 3d at 1126. This would certainly be the
case here since the Gaulden brothers' distribution operation was
rather significant.
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